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8                             UNITED STATES DISTRICT COURT

9                         CENTRAL DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,              ) Case No.: 8:24-CR-00080-JWH
                                             )
11               Plaintiff,                  ) ORDER CONTINUING SENTENCING
                                             ) HEARING FROM FEBRUARY 7, 2025,
12         vs.                               ) TO APRIL 4, 2025
                                             )
13    MATHEW BOWYER,                         )
                                             )
14               Defendant                   )
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27                        ORDER CONTINUING SENTENCING HEARING
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